    Case 6:06-cr-00026-JRH-CLR Document 956 Filed 06/22/09 Page 1 of 2



                                                                                        H ;ouRT
                UNITED STATES DISTRICT COURT
                                                                          2009 JUN 22 AM jQ: 31
                SOUTHERN DISTRICT OF GEORGIA
                        STATE SBORO DIVISION                                        T
                                                                                        OFGA.

CHARLES WILLIS,

      Movant,

                                           Case No. CV608-116
                                                     CR6OG-026
UNITED STATES OF AMERICA,

      Respondent.


                                  ORDER

      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

      Movant Charles Willis is entitled to be resentenced absent the career

offender enhancement applied at his initial sentencing. Accordingly, the

United States Probation Office is DIRECTED to prepare a new

presentence investigation report reflecting the fact that Willis is not a career

offender under the sentencing guidelines. The Court will appoint new

counsel to represent movant at the resentencing hearing, and the Clerk is
    Case 6:06-cr-00026-JRH-CLR Document 956 Filed 06/22/09 Page 2 of 2



therefore DIRECTED to prepare the appropriate appointment papers

(CJA-20) forthwith. The Court will schedule the case for resententencing

once the revised presentence investigation report has been prepared and

reviewed by counsel.

     SO ORDERED thisZ—day of '0                       , 2009.



                                        .'AVANT EOENFiEL9'
                                       UNITED STATES IMRICT JUDGE
                                       SOUTHERN DISTRJtT OF GEORGIA
